308 U.S. 608
    60 S.Ct. 177
    84 L.Ed. 508
    Clarence H. FISCHER, Inmate No. 15536, etc., petitioner,v.J. M. McCAULEY, as Warden, etc.
    No. 484.
    Supreme Court of the United States
    November 13, 1939
    
      1
      Mr. Clarence H. Fischer, pro se.
    
    
      2
      On petition for writ of certiorari to the Supreme Court of the State of Washington.
    
    
      3
      No opinion filed in court below.
    
    
      4
      The motion for leave to proceed further herein in forma pauperis is denied for the reason that the Court, upon examination of the papers herein submitted, finds no ground upon which writ of certiorari should be issued. The petition for writ of certiorari is therefore also denied.1
    
    
      
        1
         Mr. Justice BUTLER took no part in the consideration and decision of the cases in which judgments or orders have been announced as above.
      
    
    